Appellate Case: 07-1380               Document: 010136641                 Date Filed: 09/20/2007               Page: 1




                                 UNITED STATES COURT OF APPEALS
                                      FOR THE TENTH CIRCUIT

                            Entry of Appearance and Certificate of Interested Parties
                                                        )
MOISES CARRANZA-REYES,                                  )
                                                        )
         Plaintiff-Appellee,                            )                 Case No. 07-1380
                                                        )
v.                                                      )
                                                        )
PARK COUNTY BOARD OF                                    )
COMMISSIONERS et. al.                                   )
                                                        )
Defendants-Appellants.                                  )


INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM, TOGETHER WITH
PROOF OF SERVICE ON ALL OTHER PARTIES. IF THE CERTIFICATE OF INTERESTED PARTIES ON THE REVERSE OF
THIS FORM IS COMPLETED, AN ORIGINAL AND THREE COPIES MUST BE FILED. MULTIPLE COUNSEL APPEARING
FOR A PARTY OR PARTIES AND WHO SHARE THE SAME MAILING ADDRESS MAY ENTER THEIR APPEARANCES ON
THE SAME FORM BY AFFIXING THEIR INDIVIDUAL SIGNATURES.
                                         _________________

         In accordance with 10th Cir. R. 46.1, the undersigned attorneys hereby appear as counsel for:


              Fred Wegener and Monte Gore                                                         in the subject case(s).
                                         Appellants/Petitioners

         Further, in accordance with 10th Cir. R. 46.1.3, the undersigned certify as follows: (Check one).

XX       On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
         disclosed, who are now or have been interested in this litigation or any related proceeding.
          (File original only) .

         There are no such parties, or any such parties have heretofore been disclosed to the court. (File original only).


 s/Andrew D. Ringel (ringela@hallevans.com)                      s/Jennifer L. Veiga (veigaj@hallevans.com)
Name of Counsel (type or print)                                  Name of Counsel (type or print)

                                                                 _____________________________________
Signature of Counsel                                             Signature of Counsel
HALL & EVANS, L.L.C.                                             HALL & EVANS, L.L.C.
1125 17Th Street, Suite 600                                      1125 17th Street, Suite 600
Denver, CO 80202                                                 Denver, CO 80202
(303) 628-3300                                                   (303) 628-3300               .
Mailing Address and Phone Number                                 Mailing Address and Phone Number

I hereby certify that a copy of this Entry of Appearance and Certificate of Interested Parties was mailed on

(please insert date) September 20, 2007_______________
Appellate Case: 07-1380          Document: 010136641           Date Filed: 09/20/2007         Page: 2



to   SEE ATTACHED CERTIFICATE OF MAILING
  (See Fed.R.App.P. 25(b))                                      (Signature of Counsel)



                            UNITED STATES COURT OF APPEALS
                                 FOR THE TENTH CIRCUIT


MOISES CARRANZA-REYES               )
                                    )
      Plaintiff-Appellee,           )           Case No. 07-1380
                                    )
v.                                  )
                                    )
PARK COUNTY BOARD OF                )
COMMISSIONERS et. al.               )
                                    )
      Defendants-Appellees          )
______________________________________________________________________________

                          Certificate of Interested Parties
______________________________________________________________________________

        The following are parties to this litigation, including persons or other entities financially
interested in the outcome of the litigation, but not revealed by the caption on appeal, see 10th Cir. R.
46.1.3, and attorneys not entering an appearance in this court who have appeared for any party in
prior trial or administrative proceedings sought to be reviewed, or in related proceedings that
preceded the subject action in this court:

CTSI
800 Grant Street, Suite 400
Denver, CO 80203

St. Paul Travelers
P.O. Box 65100
2700 NE Loop 410, Suite 105
San Antonio, Texas 78217
Appellate Case: 07-1380                  Document: 010136641                    Date Filed: 09/20/2007   Page: 3




                                            CERTIFICATE OF MAILING

       I HEREBY CERTIFY that on this 20th day of September 2007, I mailed a true and correct
copy of the foregoing ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
PARTIES, correctly addressed, postage prepaid, in the U.S. Mail to the following:

Joseph Archuleta, Esq.
Law Office of Joseph Archuleta
1724 Ogden Street
Denver, Colorado 80218

Adele P. Kimmel, Esq.
Public Justice, P.C.
1825 K. Street, N.W., Suite 200
Washington, D.C. 20006

Lloyd C. Kordick, Esq.
805 S. Cascade
Colorado Springs, Colorado 80903

William A. Trine, Esq.
Trine & Metcalf, P.C.
1435 Arapahoe Ave.
Boulder, Colorado 80302-6390

Josh A. Marks, Esq.
Melanie B. Lewis, Esq.
Berg Hill Greenleaf & Ruscitti
1712 Pearl Street
Boulder, Colorado 80302


                                                                      s/Andrew D. Ringel        .
                                                                      (Signature of Counsel)




H:\Users\RINGELA\park\Carranza-Reyes\APPEAL 07-1380\Entry of appear - 10th cir.doc
